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May 14, 2020

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Attn: Arlene S. Zwilling, Esq., Asst. County Attorney

Re: Jennifer Nin, et al. v. County of Suffolk, et al.
Civil Action No. 19-cv-1546 (SJF)(AKT)

Dear Ms. Zwilling:

As you know, this office represents the plaintiffs in the abovementioned action. Without
_ waiving our objection to your filing this dispositive, I write to provide you a copy of Plaintiffs’
Opposition to Defendants’ Motion for Judgment on the pleadings.

Thank you very much for your attention to this matter. Should you have any questions or
concerns, please do not hesitate to contact me.

 

 
